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		2016-04-20-04 
	


  







The Supreme Court of South Carolina

  
    
      
        Re:  Amendments to the South Carolina Bar Constitution
        Appellate  Case No. 2016-000250
      
    
  


ORDER

Pursuant to Rule 410(c), SCACR, we approve amendments  to the South Carolina Bar Constitution submitted by the South Carolina  Bar.&nbsp; These amendments: (1) add four  At-Large Delegates to the House of Delegates; (2) add a young lawyer as an  additional State Bar Delegate to the American Bar Association; and (3) provide  for a method of election in the event of a tie vote.&nbsp; 
These  amendments shall be effective immediately.&nbsp;  A copy of the amended portions of the South Carolina Bar Constitution is  attached.
&nbsp;

  
    
    
      s/Costa M. Pleicones&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;C.J.
        
        s/Donald W. Beatty&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        J.
        s/John W. Kittredge&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        J.
        s/Kaye G. Hearn&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; J.
        s/John Cannon Few&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; J.
    
  

Columbia, South Carolina
April 20, 2016



Article VI, §§  6.2 and 6.3 of the South Carolina Bar Constitution are amended to provide:
Section 6.2 Composition. The House of  Delegates, which is designed to be representative of the Bar, is composed of  the following members:
(1)&nbsp;Circuit Delegates elected from each Judicial Circuit in the manner set forth  herein and in the Bylaws;
  (2)&nbsp;The members of the Board of Governors;
  (3)&nbsp;The former presidents of the Bar and its  predecessor organizations, the South Carolina Bar Association and the South  Carolina State Bar;
  (4)&nbsp;One delegate representative from each  section and the Young Lawyers Division;
  (5)&nbsp;The President and Immediate Past  President of the Senior Lawyers Division; 
  (6)&nbsp;Two delegate representatives elected by  the members who reside without the State of South Carolina;
  (7)&nbsp;Four At Large Delegates elected in the  manner set forth herein and in the Bylaws; 
  (8)&nbsp;The deans of all law schools whose  facilities are in South Carolina;
  (9)&nbsp;The State Delegate and the State Bar  Delegates to the American Bar Association; and
  (10)&nbsp;The immediate past Chair of the House  of Delegates.
Section  6.3 Circuit Delegates; At Large Delegates.
(a)  The members of the Bar residing in each Judicial Circuit eligible to vote shall  elect from among themselves the Circuit Delegate or Delegates to represent that  Circuit in the House of Delegates. The number of Circuit Delegates from each  circuit shall be proportionate to the membership in each Circuit with each  Circuit having at least one Delegate. The number of Delegates from each Circuit  shall be determined as follows:
  (1) Each Circuit shall be entitled  to one delegate for each representative unit as defined below together with one  delegate for each fraction of a unit greater than one-half.
  (2) A representative unit during any  apportionment term shall be equal to one hundred five members.
  (3) The apportionment term shall be  a period of ten years. The initial term shall commence March 1, 2005.
  (4) The House of Delegates shall be  reapportioned each tenth year using the formula herein set forth.
  (b) The At Large Delegates shall be  elected by the Board of Governors.
  (c) The term of each Circuit  Delegate and At Large Delegate shall be two years beginning the first day of  July following his selection.
Section  9.3 and Section 9.4(a) and (b) of the South Carolina Bar Constitution are  amended to provide:
(a)  On or before November 15 of each year the Nominating Committee shall meet at a  time and place designated by its Chair and shall promptly make nominations by  majority vote for the offices of President-Elect, Secretary, and Treasurer, the  members of the Board of Governors and ABA State Bar Delegates to be elected in  that year, and in every alternate year the office of Chair of the House of  Delegates. Only Circuit Delegates shall be eligible for nomination to the  office of Chair of the House of Delegates. No one shall be eligible to be  nominated or elected as State Bar Delegate who will at the time of election  have served in such capacity for four years.
  
  (b) The Board of Governors shall, on  or before the following December 15, cause the name of each nominee selected by  the Nominating Committee to be published. On or before the following January  15, twenty-five or more members who are entitled to vote may file with the  Board of Governors a signed petition nominating a candidate or candidates for  any or all offices to be filled. On January 15, the nominations shall be  closed. The Board of Governors shall cause the name of each nominee to be  published.
  
  (c) Any ABA State Bar Delegate who  must be a young lawyer shall not be nominated as set forth above. One or more  nominees shall be chosen by vote of the Young Lawyers Division Executive  Council. 
Section  9.4 Election of Officers, Governors and State Bar Delegates.
(a)  If there is only one nominee from the Nominating Committee for President-Elect  or Secretary or Treasurer or Chair of the House of Delegates or Governor or  State Bar Delegate, such nominee shall be considered elected automatically at  the time the nominations are closed.
  (b) If more than one person is  nominated for any such office or position, ballots containing the names of all  nominees for each contested position shall be mailed to all members who are  eligible to vote at the same time as ballots for contested Circuit Delegate  elections are distributed. The nominee who receives the greatest number of  votes for each office or position shall be declared elected. In the event of a  tie vote, the House of Delegates shall determine which of those tied nominees  shall serve.






